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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA



 IN RE: Due Process Protections Act                    CASE NO. 3:20-mc-20-J-32


                     STANDING ORDER REGARDING
                    DUE PROCESS PROTECTIONS ACT

       Pursuant to the Due Process Protections Act, the Court confirms the

 United States’ obligation to produce all exculpatory evidence to the defendant

 pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny and orders

 the United States to do so. Failing to do so in a timely manner may result in

 consequences, including exclusion of evidence, adverse jury instructions,

 dismissal of charges, contempt proceedings, and sanctions.

       The Clerk is directed to enter this order in all criminal cases pending on

 October 21, 2020, or filed thereafter.

       DONE AND ORDERED in Jacksonville, Florida on December 1, 2020.
